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                       1   JENNIFER LANTZ (Bar No. 202252)
                           jennifer.lantz@hoganlovells.com
                       2   JAMES R. CADY (Bar No. 213377)
                           james.cady@hoganlovells.com
                       3   HOGAN LOVELLS US LLP
                           4085 Campbell Avenue, Suite 100
                       4   Menlo Park, California 94025
                           Telephone:     (650) 463-4000
                       5   Facsimile:     (650) 463-4199

                       6   CHRISTIAN E. MAMMEN (Bar No. 188454)
                           chris.mammen@hoganlovells.com
                       7   HOGAN LOVELLS US LLP
                           3 Embarcadero Center, 15th Floor
                       8   San Francisco, California 94111
                           Telephone:    (415) 374-2300
                       9   Facsimile:    (415) 374-2499

                      10   Attorneys for Plaintiff and Counterdefendant
                           eBay, Inc.
                      11
                           JEFFREY G. KNOWLES (Bar No. 129754)
                      12   ef–jgk@cpdb.com
                           JULIA D. GREER (Bar No. 200479)
                      13   ef–jdg@cpdb.com
                           BEJAN D. FANIBANDA (Bar No. 266377)
                      14   ef-bdf@cpdb.com
                           COBLENTZ PATCH DUFFY & BASS LLP
                      15   One Ferry Building, Suite 200
                           San Francisco, California 94111-4213
                      16   Telephone:    (415) 391-4800
                           Facsimile:    (415) 989-1663
                      17
                           Attorneys for Defendant and Counterclaimant
                      18   Dotcom Retail Limited and BeautyBay.com

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                                                          UNITED STATES DISTRICT COURT
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                                                     NORTHERN DISTRICT OF CALIFORNIA
                      21
                                                             SAN FRANCISCO DIVISION
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                      23
                           EBAY INC.,                                     Case No. CV-13-02853-SC
                      24
                                             Plaintiff,
                      25
                           v.
                      26
                           DOTCOM RETAIL, LIMITED, et al.,
                      27
                                             Defendant.
                      28
H OGAN L OVEL LS US
       LLP
  ATTO RNEY S AT LAW
   SAN FRA NCI S CO
                              Case 3:13-cv-02853-SC Document 63 Filed 07/06/15 Page 2 of 2



                       1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), and pursuant to the March 15,

                       2   2015 settlement agreement entered into by the parties, it is hereby stipulated and agreed by and

                       3   between eBay Inc., Dotcom Retail Ltd. and BeautyBay.com, and their respective counsel, that all

                       4   claims and counterclaims in the above-captioned case shall be dismissed with prejudice, each

                       5   party to bear its own costs and fees.

                       6          The filer of the document hereby attests that concurrence in the filing has been obtained

                       7   from each of the other Signatories, pursuant to Local Rule 5-1(i)(3).

                       8          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

                       9

                      10   Dated: July 2, 2015                           Respectfully submitted,
                      11                                                 HOGAN LOVELLS US LLP
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                      13                                                 By: /s/ Jennifer Lantz
                                                                            Jennifer Lantz
                      14                                                    Attorneys for Plaintiff
                                                                            eBay, Inc.
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                      16   Dated: July 2, 2015                          COBLENTZ PATCH DUFFY & BASS LLP

                      17
                                                                        By: /s/ Julia D. Greer
                      18                                                    Julia D. Greer
                                                                            Attorneys for Defendant
                      19                                                    Dotcom Retail Limited and BeautyBay.Com

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                      22   PURSUANT TO STIPULATION, IT IS SO ORDERED.                         TES D      TC
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                      25                                                UNITED STATES DISTRICT COURT JUDGE
                                                                                    SAMUEL CONTI
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                                                                                                    STIPULATION
       LLP                                                                                                  R
                                                                                                     DISMISSAL WITH PREJUDICE
  ATTO RNEY S AT LAW
   SAN FRA NCI S CO
